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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   AT OWENSBORO

                                 (FILED ELECTRONICALLY)


                  4:19-CV-22-JHM
CIVIL ACTION NO. ________________________

UNITED STATES OF AMERICA                                                              PLAINTIFF

vs.


KATINA G. WILLIAMS                                                                  DEFENDANTS
A/K/A KATINA BELL
211 Oak Street
Greenville, Kentucky 42345-1107


                             COMPLAINT FOR FORECLOSURE


       Plaintiff, the United States of America, states as follows:

       1.      This is a mortgage foreclosure action brought by the United States of America on

behalf of its agency, the United States Department of Agriculture Rural Housing Service also

known as Rural Development (hereinafter collectively “RHS”).

       2.      Jurisdiction arises under 28 U.S.C. § 1345. Venue is proper in this judicial

division, where the subject property is located.

       3.      RHS is the holder of a promissory note (“the Note”) executed for value on

October 29, 1997 by Defendant Katina G. Williams a/k/a Katina Bell (“the Borrower”). The

principal amount of the Note was $52,450.00, bearing interest at the rate of 7.250 percent per

annum, and payable in monthly installments as specified in the Note. A copy of the Note is

attached as Exhibit A and incorporated by reference as if set forth fully herein.
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       4.      The Note is secured by a Real Estate Mortgage (the “Mortgage”) recorded on

October 29, 1997, in Mortgage Book 305, Page 564, in the Office of the Clerk of Muhlenberg

County, Kentucky. Through the Mortgage, the Borrower, unmarried, granted RHS a first

mortgage lien against the real property including all improvements, fixtures and appurtenances

thereto at 220 West Main Cross Street, Greenville, Muhlenberg County, Kentucky (the

“Property”) and described in more detail in the Mortgage. A copy of the Mortgage is attached as

Exhibit B and incorporated by reference as if set forth fully herein.

       5.      To receive subsidies on the loan, the Borrower signed a Subsidy Repayment

Agreement authorizing RHS to recapture, upon transfer of title or non-occupancy of the

Property, any subsidies granted to the Borrower by RHS. A copy of the Subsidy Repayment

Agreement is attached as Exhibit C and incorporated by reference as if set forth fully herein.

       6.      The Borrower has defaulted on the Note and Mortgage by failing to make

payments when due.

       7.      RHS has, in accordance with the loan documents, accelerated the loan and

declared the entire principal balance, together with all accrued and unpaid interest and all other

sums due under the loan documents, to be due and payable. Further, RHS sent notice to the

Borrower of the default and acceleration of the loan.

       8.      In accordance with the loan documents, the United States is entitled to enforce the

Mortgage through this foreclosure action and to have the Property sold to pay all amounts due,

together with the costs and expenses of this action.




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       9.      The unpaid principal balance on the Note is $34,985.21 with accrued interest of

$14,509.59 through October 17, 2018 with a total subsidy granted of $27,148.32, escrow charges

of $1,652.55, late charges in the amount of $55.84, and fees assessed of $19,563.78, for a total

unpaid balance of $97,915.29 as of October 17, 2018. Interest is accruing on the unpaid

principal balance at the rate of $10.3198 per day after October 17, 2018.

       10.     The Property is indivisible and cannot be divided without materially impairing its

value and the value of RHS's lien thereon.

       11.     The Mortgage granted to RHS by the Borrower is a purchase money mortgage.

The United States is unaware if the Borrower has a spouse, but even if such spouse existed,

pursuant to KRS 392.040(1), any surviving spouse shall not have a spousal interest in land sold

in good faith after marriage to satisfy an encumbrance created before marriage or to satisfy a lien

for the purchase money.

       12.     There are no other persons or entities purporting to have an interest in the

Property known to the Plaintiff.

       WHEREFORE, Plaintiff, the United States of America, on behalf of RHS, demands:

       a.      Judgment against the interests of the Borrower in the Property in the principal

amount of $34,985.21, plus $14,509.59 interest as of October 17, 2018, and $27,148.32 for

reimbursement of interest credits, escrow charges of $1,652.55, late charges in the amount of

$55.84, and fees assessed of $19,563.78, for a total unpaid balance due of $97,915.29 as of

October 17, 2018, with interest accruing at the daily rate of $10.3198 from October 17, 2018,

until the date of entry of judgment, and interest thereafter according to law, plus any additional

costs, disbursements and expenses advanced by the United States;




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        b.        That the United States be adjudged a lien on the Property, prior and superior to

any and all other liens, claims, interests and demands, except liens for unpaid real estate ad

valorem taxes;

        c.        That the United States' lien be enforced and the Property be sold in accordance

with 28 U.S.C. §§ 2001-2003 subject to easements, restrictions and stipulations of record, but

free and clear of all other liens and encumbrances except liens for any unpaid ad valorem real

property taxes;

        d.        That the proceeds from the sale be applied first to the costs of this action, second

to any ad valorem real property taxes, if any, third to the satisfaction of the debt, interest, costs

and fees due the United States, with the balance remaining to be distributed to the parties as their

liens or interests may appear;

        e.        That the Property be adjudged indivisible and be sold as a whole; and

        f.        That the United States receive any and all other lawful relief to which it may be

entitled.


                                                        UNITED STATES OF AMERICA

                                                        RUSSELL M. COLEMAN
                                                        United States Attorney


                                                        s/ William F. Campbell
                                                        William F. Campbell
                                                        Katherine A. Bell
                                                        Assistant United States Attorneys
                                                        717 West Broadway
                                                        Louisville, Kentucky 40202
                                                        Phone: 502/582-5911
                                                        Fax: 502/625-7110
                                                        bill.campbell@usdoj.gov
                                                        Katherine.bell@usdoj.gov


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OJS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
            UNITED STATES OF AMERICA                                                                            KATINA G. WILLIAMS

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant             MUHLENBERG
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
✔1
’        U.S. Government                 ’ 3 Federal Question                                                                       PTF     DEF                                         PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1     ’ 1     Incorporated or Principal Place      ’ 4 ’4
                                                                                                                                                    of Business In This State

’2       U.S. Government                 ’ 4 Diversity                                               Citizen of Another State      ’ 2       ’ 2    Incorporated and Principal Place     ’ 5      ’ 5
           Defendant                                                                                                                                   of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a       ’ 3       ’ 3    Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY            ’ 610 Agriculture                ’ 422 Appeal 28 USC 158          ’   400 State Reapportionment
’   120 Marine                       ’    310 Airplane                 ’ 362 Personal Injury -       ’ 620 Other Food & Drug          ’ 423 Withdrawal                 ’   410 Antitrust
’   130 Miller Act                   ’    315 Airplane Product              Med. Malpractice         ’ 625 Drug Related Seizure              28 USC 157                ’   430 Banks and Banking
’   140 Negotiable Instrument                Liability                 ’ 365 Personal Injury -              of Property 21 USC 881                                     ’   450 Commerce
’   150 Recovery of Overpayment      ’    320 Assault, Libel &              Product Liability        ’   630 Liquor Laws                   PROPERTY RIGHTS             ’   460 Deportation
       & Enforcement of Judgment             Slander                   ’ 368 Asbestos Personal       ’   640 R.R. & Truck             ’ 820 Copyrights                 ’   470 Racketeer Influenced and
’   151 Medicare Act                 ’    330 Federal Employers’            Injury Product           ’   650 Airline Regs.            ’ 830 Patent                            Corrupt Organizations
’   152 Recovery of Defaulted                Liability                      Liability                ’   660 Occupational             ’ 840 Trademark                  ’   480 Consumer Credit
       Student Loans                 ’    340 Marine                    PERSONAL PROPERTY                   Safety/Health                                              ’   490 Cable/Sat TV
       (Excl. Veterans)              ’    345 Marine Product           ’ 370 Other Fraud             ’   690 Other                                                     ’   810 Selective Service
’   153 Recovery of Overpayment              Liability                 ’ 371 Truth in Lending                    LABOR                  SOCIAL SECURITY                ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 380 Other Personal          ’   710 Fair Labor Standards     ’ 861 HIA (1395ff)                      Exchange
’   160 Stockholders’ Suits          ’    355 Motor Vehicle                 Property Damage                 Act                       ’ 862 Black Lung (923)           ’   875 Customer Challenge
’   190 Other Contract                       Product Liability         ’ 385 Property Damage         ’   720 Labor/Mgmt. Relations    ’ 863 DIWC/DIWW (405(g))                12 USC 3410
’   195 Contract Product Liability   ’    360 Other Personal                Product Liability        ’   730 Labor/Mgmt.Reporting     ’ 864 SSID Title XVI             ’   890 Other Statutory Actions
’   196 Franchise                            Injury                                                         & Disclosure Act          ’ 865 RSI (405(g))               ’   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS           ’   740 Railway Labor Act          FEDERAL TAX SUITS              ’   892 Economic Stabilization Act
’   210 Land Condemnation            ’    441 Voting                   ’ 510 Motions to Vacate       ’   790 Other Labor Litigation   ’ 870 Taxes (U.S. Plaintiff      ’   893 Environmental Matters
✔
’   220 Foreclosure                  ’    442 Employment                      Sentence               ’   791 Empl. Ret. Inc.               or Defendant)               ’   894 Energy Allocation Act
’   230 Rent Lease & Ejectment       ’    443 Housing/                     Habeas Corpus:                   Security Act              ’ 871 IRS—Third Party            ’   895 Freedom of Information
’   240 Torts to Land                        Accommodations            ’   530 General                                                     26 USC 7609                        Act
’   245 Tort Product Liability       ’    444 Welfare                  ’   535 Death Penalty                                                                           ’   900Appeal of Fee Determination
’   290 All Other Real Property      ’    445 Amer. w/Disabilities -   ’   540 Mandamus & Other                                                                               Under Equal Access
                                             Employment                ’   550 Civil Rights                                                                                   to Justice
                                     ’    446 Amer. w/Disabilities -   ’   555 Prison Condition                                                                        ’   950 Constitutionality of
                                             Other                                                                                                                            State Statutes
                                     ’    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                             Appeal to District
✔1
’        Original        ’ 2    Removed from          ’ 3 Remanded from             ’ 4 Reinstated or ’ 5 Transferred          from
                                                                                                                  another district    ’ 6 Multidistrict                      ’ 7       Judge from
                                                                                                                                                                                       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. SECTION 1345
VI. CAUSE OF ACTION                         Brief description of cause:
                                            RURAL HOUSING SERVICE (RHS) f/k/a FARMERS HOME ADMINISTRATION (FmHA) FEDERAL FORECLOSURE
VII. REQUESTED IN                           ’    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23                                       $97,915.29                               JURY DEMAND:         ’ Yes     ’✔No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

2/19/2019                                                                    s/ William F. Campbell
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
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  USDA.RHS
  Form FmHA 1940-16
  (Rev.10-96)




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     shlll exccute atrd tlle or rccoff sucn anstn mcnts of tdeasc, satisfaction and trrnrinatioo in propor form punurnt lo
     thc rcquiremcnts contained in KRS 38:1,365
         26. BHcrc to thl, $ccurlty Instrumcnt. lf one or mus ridcn arc exccutod by Borrrrycr rnd recorded
     together with drig Sccurity Inrm*ent, the covenants and agrcancn& oieach riari strait'Us in-rrorpsst& 6to-*d




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Case 4:19-cv-00022-JHM-HBB Document 1-3 Filed 02/19/19 Page 6 of 7 PageID #: 14



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Case 4:19-cv-00022-JHM-HBB Document 1-3 Filed 02/19/19 Page 7 of 7 PageID #: 15



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                                   EETBTT . tht:

     Thls Is a descriptlon of the irane yocun Arnold pioperty located at
     22O West Main Cross street Greenville, fentucfy and more
     particularly described as folloss:
     Beglnning at an lron pipe [sound] in the south right-of-way llne of
     west llain 6toss Street in the eenter of a 10 fe€t ehaped -drJ.veway
     and being the NorEheaEt eorner of lot now osned by rv-lyn paxton]
     thence wltlr the south rlght-of-way of said street North 7g-oz-Lo
     Eaet, 50.00 feet to an lron plpe [FoundJ; thence wittr the old East
     llne south 11-12-00 Eqst, t35.oo feet to an lron.pln leetJ; thence
     wlth the old south llne South z9-02-10 west, Go.O-o teit to an iron
     plpe [found]I thence sittr the old W€Et LLne North 11-12-Oo West,
     135.00 feet to the beginning containlng 8,10O Equare feet or 0.186o
     acre. Thts description prepareil by Douglas llatfLeld \.5. ZZLZ fron
     a physical srrrvey by saue dated e-27-97.
     Thie being tlre eane properi,y conveyed to Katina G. WtUiane, fron
     Jane Yosum Arnold and huaband, Griffln Arno1d, by deed dated
     October 29, !997 r recorded. ln ttre of,fic.o of the Mulrlenberg County
     Court cleri in Deed Book /'.f.,f, Page &?8_.




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